Case

‘ Davis Miles

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF ARIZONA

In re:
OPT CO, an Arizona corporation, ef al.,

Debtors.

This filing applies to:

[x] Consolidated Debtors
Opt Co
4k Builders, Inc.
4K Properties, Ltd.
BLU Enterprises, Inc.
Vintage Millworks, Inc.
Southwest Renewable Resources, LLC
Opt Co Residential Painting, LLC
Arizona Steel Finishing, LLC

In Chapter 11 Proceedings
Case No. 4:17-bk-06091-BMW

Substantively Consolidated:

Case No. 4:17-bk-06092-BMW
Case No. 4:17-bk-06093-BMW
Case No. 4:17-bk-06094-BMW
Case No. 4:17-bk-06095-BMW
Case No. 2:17-bk-06096-BMW
Case No. 4:17-bk-06097-BMW
Case No. 2:17-bk-06100-BMW

ORDER APPROVING POST-PLAN
CONFIRMATION, FOURTH, AND FINAL
FEE APPLICATION FOR
CONFIRMATION OF PAYMENT OF
ATTORNEYS' FEES AND COSTS

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This matter having come before the Court on the Post-Plan Confirmation, Fourth, and
Final Application for Attorneys’ Fees (the “Application”), the Court having found that proper
notice has been served, with no objections to the Application being filed, and good cause
appearing,

IT IS HEREBY ORDERED granting final approval of the First Interim Application
for Approval of Attorneys’ Fees and Costs of debtors’ counsel.

IT IS HEREBY FURTHER ORDERED granting final approval of the Second
Interim Application for Approval of Attorneys’ Fees and Costs of debtors’ counsel.

IT IS HEREBY FURTHER ORDERED granting final approval of the Third Interim
Application for Approval of Attorneys’ Fees and Costs of debtors’ counsel.

IT IS HEREBY FURTHER ORDERED granting final approval of the Fifth and
Final Application for Approval of Attorneys’ Fees and Costs as follows:

A. Allowing compensation for professional services rendered by the Firm as
Debtor's Chapter 11 counsel in the amount of $13,242.50;

B. Allowing reimbursement of costs in the amount of $789.33;

C. Authorizing the Firm to pay the amount awarded from the retainer currently held
in the Firm's trust account and such additional amounts as Debtor shall pay.

DATED AND SIGNED ABOVE.

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